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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                              :
THE KEITH HARING FOUNDATION INC. &                            :
KEITH HARING STUDIO, LLC                                      :
                                                              :
                           Plaintiff,                         :   Civil Action No. __________ (____)
                                                              :
                  v.                                          :   JURY TRIAL DEMANDED
                                                              :
GIN&TONIC LLC.,                                               :
                                                              :
                            Defendant.                        :
                                                              :
--------------------------------------------------------------X

                                                COMPLAINT

        The Keith Haring Foundation Inc. (“Haring Foundation”) and Keith Haring Studio, LLC

(“Haring Studio”) (collectively, “Plaintiffs”), by and through their attorneys, Ladas & Parry,

LLP, for their Complaint against Gin&Tonic LLC (hereinafter, “Defendant”) alleges as follows:

                                       NATURE OF THE ACTION

        1.       This action arises out of Defendant’s unauthorized use of Plaintiffs’ valuable

intellectual property in Keith Haring’s works and trademarks, which is causing irreparable injury

to Plaintiffs, to the goodwill and reputation of Plaintiffs’ well-known, federally-registered

intellectual property, and to the public.

        2.       The Haring Foundation is the successor-in-interest to and owner of the intellectual

property of the world famous artist Keith Haring. Haring Studio is authorized to grant licenses

with respect to Keith Haring’s intellectual property on behalf of the Haring Foundation.

        3.       In 2018, Haring Studio entered into a license agreement with Defendant, granting

Defendant certain limited rights to use and reproduce certain approved trademarks, artworks, and
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other images by Keith Haring (collectively, the “Haring Images”) on or in connection with the

manufacture, marketing, and sale of lounge pants, underwear, socks, and robes (the “License”).

        4.       The License included strict provisions to ensure all products produced and

manufactured under the License met Plaintiffs’ quality requirements and stringent standards,

including, inter alia, types of authorized products, authorized brands, a multi-step approval

process for products, labels and packaging, and marketing materials, and standards.

        5.       Defendant manufactured, sold, and distributed unapproved and unauthorized

products bearing Plaintiffs’ Haring Images that were not approved by Plaintiffs as required by

the License and that were expressly not authorized or permitted under the License, constituting a

material breach of several provisions of the License and violation of Plaintiffs’ valuable

intellectual property rights under the Lanham Act and U.S. Copyright Act.

        6.       Accordingly, Plaintiffs bring this action for trademark infringement,

counterfeiting, unfair competition and false designation of origin under the Lanham Act,

copyright infringement under the Copyright Act, breach of contract under New York law, and

trademark infringement, dilution, and unfair competition under New York Law.

                                           THE PARTIES

        7.       The Keith Haring Foundation Inc. is a New York not-for-profit corporation with

an address at 676 Broadway, 5th Floor, New York, New York 10012.

        8.       Keith Haring Studio, LLC is a Delaware limited liability company with an

address at 676 Broadway, 5th Floor, New York, New York 10012.

        9.       Upon information and belief, defendant Gin&Tonic LLC is a New York limited

liability company with an address at 37 West 37th Street, New York, New York 10018, and

subject to the personal jurisdiction of this court.




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                                  JURISDICTION & VENUE

       10.     This action arises under the Lanham Act, 15 U.S.C. § 1051 et seq., the Copyright

Act, 17 U.S.C. § 101 et seq., and the common law of the State of New York.

       11.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 & 1338 and

Section 39 of the Lanham Act, 15 U.S.C. § 1121. This Court has subject matter jurisdiction over

Plaintiffs’ related New York state and common law claims pursuant to 28 U.S.C. § 1367.

       12.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1 & 2) and (c)(2).

                         KEITH HARING & PLAINTIFFS’ RIGHTS

       13.     Keith Haring (1958-1990) was an American artist who achieved international

recognition and fame between 1980-1989.

       14.     In 1989, Keith Haring established the Haring Foundation.

       15.     During his life, Keith Haring contributed his talents and resources to numerous

causes, including conducting art workshops for children, creating logos and posters for public

service agencies, and producing murals, sculptures, and paintings to benefit health centers and

disadvantaged communities. The Haring Foundation furthers this legacy by supporting not-for-

profit organizations, concentrating its charitable donations to organizations that enrich the lives

of underprivileged children and organizations that engage in education, prevention, and care with

respect to AIDS and HIV infection.

       16.     The Haring Foundation also maintains and protects Keith Haring’s artistic

integrity and legacy, including overseeing the reproduction of Haring Images and protecting its

intellectual property.

       17.     The Haring Foundation has an active licensing program through Haring Studio.

Revenues generated through licensing, as well as through sales of artworks, fund the Haring

Foundation’s support of not-for-profit organizations.


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       18.     The Haring Foundation owns and exclusively controls the common law rights and

goodwill and U.S. trademark registrations for, inter alia, the following trademarks:

                             Reg. No.                       Class & Goods/Services
          Mark
                             Reg. Date                     (First Use in Commerce)

                                             Class 25: “Clothing, namely t-shirts, sweatshirts,
                             2,513,868       caps, jackets and ties” (1980).
                            Dec. 4, 2001
                                             Additional goods in classes 9, 14, and 16.

                                         Class 25: “Clothing, namely, t-shirts, tank tops,
                                         sweat shirts, sweat pants, shorts, hats, caps, jackets,
                                         scarves, raincoats, windbreakers, socks, shoes,
                                         boots, slippers, sandals, booties, belts, baby bibs not
                            3,532,980
                                         made of paper, rompers, and baby hooded sacks,
                           Nov. 18, 2008
                                         namely, swaddling clothes and cloth infant wraps”
                                         (Dec. 1983).

                                             Additional goods in classes 26 and 28.
                                             Class 25: “Clothing, namely t-shirts, sweatshirts,
                            2,413,748        caps and jackets” (1978)
                           Dec. 19, 2000
                                             Additional goods in classes 9, 16, and 18.
                                             Class 25: “Clothing, namely t-shirts, sweatshirts,
                            2,413,749        caps, ties and jackets” (1986)
   KEITH HARING
                           Dec. 19, 2000
                                             Additional goods in classes 16 and 26.

(collectively, the “Haring Trademarks”). Each of the Haring Foundation’s aforementioned

federal registrations for the Haring Trademarks is valid, subsisting, and in full force and effect,

and has become incontestable pursuant to 15 U.S.C. § 1065. True and correct copies of the

trademark registrations for the Haring Trademarks are attached at Exhibit 1.

       19.     The Haring Foundation owns and exclusively controls numerous copyrighted

works, including, inter alia, the following copyright registrations:

 Title                                                Reg. No.
 Radiant Child                                        VA 173-256
 Figure Pattern #4                                    VA 1-212-389




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(collectively, the “Haring Copyrights”; and, together with the Haring Trademarks, the “Haring

Intellectual Property”). Haring Copyrights that were registered by Keith Haring or the Estate of

Keith Haring were assigned to the Haring Foundation when the Estate of Keith Haring was

wrapped up in 2008, and said assignment was recorded with the Copyright Office in 2009. True

and correct copies of the copyright registration and deposit for the Haring Copyrights are

attached at Exhibit 2.

        20.    As a result of Keith Haring’s renown, legacy, the distinctive and recognizable

nature of his art and widespread use and marketing of same, the Haring Intellectual Property

rights are strong, famous, and distinctive, and uses of the Haring Intellectual Property, including

any works or products bearing Keith Haring’s name, signature, and/or distinctive figures such as,

e.g., the Baby and Radiant Baby, are immediately recognized by the public as originating with

Keith Haring and/or authorized by Plaintiffs.

                               DEALINGS WITH DEFENDANT

        21.    Haring Studio is authorized to license Haring Intellectual Property and Haring

Images on behalf of the Haring Foundation.

        22.    Haring Studio entered into a license agreement with Defendant dated as of June 1,

2018. A copy of the License is attached at Exhibit 3.

        23.    Under the License, Haring Studio granted Defendant certain limited rights to

reproduce Haring Images on or in connection with lounge pants, underwear, socks, and robes

only.

        24.    Products under the License could be manufactured, marketed, and sold solely in

connection with the brands Keith Haring, Gin&Tonic, and Bottoms Out.

        25.    The License included a strict approval process to maintain the integrity of the

Haring Intellectual Property and Haring Images:


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       Approval Process. Licensee shall consult in advance with Grantor with respect to
       the design, colorways, layout, and (if applicable) text of each Product design, and
       shall furnish Grantor, for its review and approval, a sample of each design of each
       Product at each of its consecutive stages of development (a “Stage Sample”).
       Unless Grantor otherwise agrees in writing, such review and approval shall apply
       to such stages as (i) conception; (ii) initial layouts, sketches, and/or design
       renderings; (iii) drafts, preliminary samples, preliminary proofs, and/or counter
       samples; and (iv) final Production Samples (that is, the Product in the final form
       that will be marketed and sold to the public); provided however, that any approval
       by Grantor of a Production Sample shall be deemed an approval of each related
       Stage Sample. In order for the applicable Stage Sample to be deemed approved,
       Licensee shall make all corrections, revisions and/or changes that Grantor
       reasonably requests.

       Approval Period. Grantor shall have 10 business days after receipt of the applicable
       approval materials for each Stage Sample to review such materials and provide
       Licensee with written notice of any changes required. Unless such notice is received
       within said period, the Stage Sample shall be deemed to be approved.

(the “Approval Process”). License, Paragraph 5(a-b).

       26.     All products produced under the License, as well as their labels, packaging, and

marketing materials, were subject to the Approval Process.

       27.     The Approval Process was essential, as the License expressly made plain:

       It is of the essence of this Agreement that Licensee shall not sell any Product unless
       and until Grantor has approved the Stage Sample for the final form in which the
       Product will be marketed and sold to the public. The License will not take effect
       with respect to the sale of any Product unless and until such approval has been
       granted with respect to such Product as set forth herein.

License, Paragraph 5(c).

       28.     The License also included standards that each product created thereunder must

meet, including requiring that “[t]he Product shall be of high quality, with each Image thereon

faithfully reproduced”; and “[t]he Product, and/or its packaging or labeling, shall bear, adjacent

to each Image reproduced thereon, such credit line and text as Grantor reasonably specifies.”

License, Paragraph 5(d).




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       29.     The strict Approval Process, standards, and other requirements were in place to

maintain the artistic integrity and high quality of goods associated with the valuable Haring

Intellectual Property and Haring Images and are essential to preserving their commercial value

and appeal.

       30.     Plaintiffs’ licensing agent Artestar, LLC (“Artestar”) worked on behalf of Haring

Studio with Defendant throughout the Approval Process.

       31.     Throughout the Approval Process, Haring Studio strictly required Defendant to

reproduce the Haring Images faithfully, without cropping, changing, or combining Haring

Images.

       32.     Between June 1, 2018, and February 15, 2019, several products went through the

Approval Process. During this period, several product design and label renderings were

approved. One sock preproduction sample was approved. No final Production Samples were

provided to Haring Studio for approval.

       33.     In an email dated January 17, 2019, Defendant approached Artestar about a

possible opportunity with the retailer Fashion Nova.

       34.     In an email dated January 23, 2019, Defendant provided a “preview” of products

it had in mind to propose for Fashion Nova. Several of the proposed products, however, fell

outside the scope of the License. Artestar responded on even date as follows:

       Typically with retailer specific opportunities, like this one, that are outside the
       scope of the existing licensing agreement, we will have the licensee approach the
       retailer and gauge interest/receive a loose buy before proceeding. You can send
       those designs to Fashion Nova to gauge interest, so long as you include the
       disclaimer “Pending approval by licensor”. Since we will be amending the
       agreement to include t-shirts, hoodies, bottoms, leggings, etc. I will need to better
       sense of the total opportunity here before proceeding[.]

       35.     In an email dated January 24, 2019, Defendant provided projections for a possible

opportunity with Fashion Nova. The projections listed several product categories that fell


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outside the expressly permitted uses authorized under the License. In response thereto on even

date, Artestar asked Defendant to provide rough price points for the proposed products.

        36.    In an email dated March 14, 2019, Defendant re-sent the Fashion Nova “preview”

and asked Artestar if Defendant could create samples of products upon Fashion Nova’s request.

Defendant noted that it would be able to provide a minimum guarantee thereafter.

        37.    In an email dated March 18, 2019, Artestar allowed Defendant to sample some,

but not all, of the clothing designs that Defendant had proposed for Fashion Nova, specifically

noting that any removed products were “not OK to sample” and that “there may be minor

changes to the designs, and they will still have to go through a standard design approval process

if a buy is confirmed.”

        38.    A buy was never confirmed.

        39.    Defendant never provided a minimum guarantee as promised on March 14, 2019,

which was a pre-condition to any amendment of the License for the Fashion Nova opportunity.

        40.    Defendant never provided the price points requested by Artestar on January 24,

2019.

        41.    Months later, in an email dated September 26, 2019, Defendant noted that

“Fashion Nova wants to do a holiday program.” Artestar responded on even date that it would

speak with the Haring Foundation about the Fashion Nova opportunity.

        42.    No agreement to amend the License was ever reached between Defendant and

Haring Studio to license use of Haring Images and Haring Intellectual Property for goods that

fell outside the scope of the License.

        43.    The License requires amendments to the License to be in writing and signed by

the party against whom enforcement is sought.




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       44.     No written, executed amendment of the License was ever entered into.

       45.     Plaintiffs never approved a Fashion Nova opportunity, nor any use by Defendants

of Haring Images and Haring Intellectual Property in connection with products falling outside

the permitted goods expressly set forth in the License.

       46.     Defendant tendered the first guaranteed payment under the License on June 29,

2018, and the second minimum guaranteed payment under the License on September 12, 2019,

both of which Defendant was required to make, irrespective of whether Defendant had any sales

of products under the License.

                      PLAINTIFFS’ DISCOVERY OF DEFENDANT’S
                        MATERIAL BREACH OF THE LICENSE

       47.     On or about November 6, 2019, Plaintiffs identified an unauthorized robe bearing

Haring Intellectual Property for sale and available for purchase on the Urban Outfitters website.

       48.     Prior to this discovery, only one preproduction sample for one sock design had

been approved under the Approval Process. For products in other categories (lounge pants,

underwear, robes), only design renderings had been approved; no samples had been submitted

for approval. No final Production Samples of products, packaging, or labels, and no marketing

materials had been submitted for approval.

       49.     The License also required Defendant to provide Haring Studio ten (10)

Production Samples of each product created under the License. Haring Studio never received

any such Production Samples.

       50.     Upon information and belief, Defendant sold and distributed unauthorized and

unapproved products bearing Haring Intellectual Property and Haring Images to the retailer

Urban Outfitters for more than a year.




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       51.     Upon information and belief, Defendant sold and distributed unauthorized and

unapproved products bearing Haring Intellectual Property and Haring Images to the retailer

DTLR without Plaintiffs’ approval.

       52.     Upon information and belief, Defendant sold and distributed unauthorized and

unapproved products bearing Haring Intellectual Property and Haring Images to the retailer

Fashion Nova without Plaintiffs’ approval.

       53.     Artestar emailed Defendant on November 6, 2019, concerning the Urban

Outfitters robe, noting that Defendant “never sent pre production samples” and that Artestar and

Haring Studio “need to see samples before [Defendant] go[es] to market[.]”

       54.     Defendant replied: “I do apologize. Will make sure future orders do go through

your office before hitting market.”

       55.     In response, Artestar inquired, “[i]s there anything else that’s coming out to

market we haven’t seen? Can you confirm?” and also asked Defendant to send Artestar the

Urban Outfitters robe for inspection.

       56.     Defendant promised to walk over a robe to Artestar’s offices in the afternoon of

November 6, 2019, but failed to do so.

       57.     In the morning of November 7, 2019, Defendant emailed Artestar, asking “to

chat” and also inquiring about an opportunity with another artist’s estate represented by Artestar.

At approximately 1:15 pm, Artestar responded: “my president isn't going to let me do anything

else with Ezrasons until we address the robe issue and what else is headed to market that we

didn't see preproduction samples of[.]”

       58.     Upon information and belief, Ezrasons is Defendant’s corporate parent.




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       59.     Shortly thereafter on November 7, 2019, at approximately 3:03 pm, Defendant

made an unscheduled visit to Artestar, bringing the unauthorized robe that was already being

sold to consumers at Urban Outfitters, as well as several other unauthorized clothing items that

had already been manufactured and sold to the retailer Fashion Nova (the “November 7

Meeting”).

       60.     The products presented at the November 7 Meeting were not stage samples for

approval, but rather unauthorized products that had already been sold and distributed by

Defendant to retailers and were already or would soon be available for sale by retailers to

consumers.

       61.     Defendant expressly confirmed during the November 7 Meeting that unapproved

products bearing Haring Intellectual Property and Haring Images presented at the meeting had

already been sold to the retailers.

       62.     All of the presented products bore labels and hangtags with prices and barcodes.

       63.     The Urban Outfitters robe presented at the November 7 Meeting bore Keith

Haring labels and Keith Haring and Urban Outfitters hang tags.

       64.     A design rendering for a robe bearing the same Haring Intellectual Property had

been approved, but a preproduction sample and final Production Samples were never provided to

Haring Studio for approval.

       65.     The nonconforming Urban Outfitters robe presented by Defendant at the

November 7 Meeting materially differed from the approved design rendering in several ways.

The design rendering had a hood, black trim around the hood and down the front of the robe and

at the wrists, bore the KEITH HARING signature across the black trim on the hood, and bore the

KEITH HARING signature on both of the ends of the robe tie belt, which was black. The




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presented non-approved robe had a collar instead of a hood, no black trim, no KEITH HARING

signatures, and the robe tie belt was the same colorful print as the robe instead of solid black.

       66.       None of the Fashion Nova products presented by Defendant at the November 7

Meeting went through the standard design Approval Process set forth in the License that would

have been required if a buy had been confirmed, as Artestar specifically noted on March 18,

2019, and the License was never amended to permit a Fashion Nova retailer-specific

opportunity.

       67.       The Fashion Nova products included an unauthorized jacket, t-shirts, and

sweatshirts, none of which were permitted by the License.

       68.       Several of the Fashion Nova products corresponded to designs Artestar had

already specifically rejected as “not OK to sample” on March 18, 2019.

       69.       The Fashion Nova products impermissibly bore Fashion Nova Men brand labels

and hang tags.

       70.       Fashion Nova Men is not an approved brand under the License.

       71.       The Fashion Nova products did not bear the required copyright notice.

       72.       The Fashion Nova products did not meet the standards set forth in the License.

       73.       During the November 7 Meeting, Artestar advised Defendant that Haring Studio

never approved the Fashion Nova opportunity or the Urban Outfitters robe, and all of the

products presented breached the License.

       74.       In a letter dated November 7, 2019, but sent to Defendant on November 8, 2019

by email at 3:50 p.m. and by UPS, and delivered by UPS at 11:22 am on November 12, 2019,

Artestar advised Defendant that it was in material breach of the License due to its manufacture

and marketing of unauthorized products bearing Haring Images and Haring Intellectual Property




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(the “Unauthorized Products”) “either because they were never submitted for the Studio’s review

and approval (as required under Section 5 of the Agreement) and/or because they fall into

product categories other than those stated in Exhibit A of the Agreement” (the “November 8

Correspondence”).

       75.     The November 8 Correspondence was sent following and in response to the

November 7 Meeting.

       76.     All of the products presented during the November 7 Meeting had never been

submitted for Haring Studio’s approval per the Approval Process, and many additionally fell into

product categories not authorized by the License, and thus all constituted Unauthorized Products

as referenced in the November 8 Correspondence.

       77.     In view of Defendant’s material breach of its obligations, Artestar demanded that

Defendant immediately “[c]ease and desist from any further development, manufacture,

promotion, marketing, sale, or distribution of all Unauthorized Products” and “[d]estroy all units

of the Unauthorized Products and provide satisfactory evidence of destruction, such as a

customary certificate of destruction,” in addition to providing certain information regarding the

amount of Unauthorized Products and damages.

       78.     The November 8 Correspondence further noted that the Unauthorized Products

constitute trademark infringement, copyright infringement, and/or unfair competition.

       79.     Defendant was expressly on notice that all of the products presented during the

November 7 Meeting must be removed from manufacture, promotion, marketing, sale, and

distribution and destroyed, as they violated Plaintiffs’ exclusive rights in and to the Haring

Intellectual Property and Haring Images.

       80.     Defendant never cured its material breach of the License.




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       81.     Rather, on or about December 1-3, 2019, Plaintiffs discovered that some or all of

the Unauthorized Products presented by Defendant at the November 7, 2019 meeting, as well as

additional unauthorized products that had never been approved by Haring Studio, had been sold

and distributed to Urban Outfitters and Fashion Nova and were being marketed and were

available for sale to consumers on the retailers’ websites.

       82.     To the extent the products presented during the November 7 Meeting had not

already been knowingly impermissibly brought to market prior to that meeting, they were

knowingly and willfully brought to market shortly thereafter, at least by December 3, 2019,

despite Plaintiffs’ written objection thereto.

       83.     In a letter dated December 3, 2019, outside counsel for Plaintiffs reiterated that

Defendant was in material breach of the License and demanded that Defendant cease all

distribution, sale, marketing and promotion of the Unauthorized Products and cause its

distributors, retailers, and customers to do the same; remove all marketing for Unauthorized

Products; provide information concerning the amount of Unauthorized Products; and destroy any

remaining Unauthorized Products, in addition to demanding damages (the “December 3 Breach

Letter”). The letter further noted that the Unauthorized Products constitute trademark

infringement, copyright infringement, and violation of other laws such as § 43(a) of the Lanham

Act.

       84.     Given Defendant’s previous willful continued intransigence, on December 3,

2019, Plaintiffs, through outside counsel and Artestar, also took reasonable necessary steps to

mitigate the damage caused by the continuing willful violation of Plaintiffs’ exclusive rights in

and to the valuable Haring Intellectual Property and Haring Images and contacted Urban




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Outfitters and Fashion Nova directly to request they discontinue selling the Unauthorized

Products.

       85.     Defendant never took any steps to cure its material breach of the License.

       86.     To the contrary, following receipt of the December 3 Breach Letter, in an email

dated December 6, 2019, Defendant, through its outside counsel, implausibly advised outside

counsel for Plaintiffs that Fashion Nova was trying to re-order Unauthorized Products and that

orders for Unauthorized Products that had been cancelled by Urban Outfitters were ready to ship,

and Defendant’s counsel requested that Plaintiffs’ counsel approve further orders and shipments

of Unauthorized Products to Fashion Nova and Urban Outfitters.

       87.     Defendant had been on express written notice of its material breach of the License

since as early as November 8, 2019, and failed to cure same within 10 business days of receipt of

written notice thereof.

       88.     Accordingly, in a letter dated December 20, 2019, Haring Studio terminated the

License more than 10 business days following Defendant’s receipt of written notice of its

material breach.

       89.     Defendant commenced its Unauthorized Use of the Haring Intellectual Property

and Haring Images willfully and in bad faith, with actual knowledge of Plaintiffs’ exclusive

rights thereto and in derogation thereof, so that Defendant could trade on and receive the benefit

of Plaintiffs’ considerable recognition, goodwill, and reputation, without regard to the agreed

upon terms of the License or Plaintiffs’ exclusive ownership rights in the Haring Intellectual

Property and Haring Images.

       90.     Plaintiffs have no adequate remedy at law and will be irreparably harmed unless

Defendant is restrained by this Court from continuing its infringing use.




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                                              COUNT I

                    Federal Trademark Infringement and Counterfeiting
                                    15 U.S.C. § 1114

        91.    Plaintiffs hereby incorporate by reference and reallege each and every allegation

set forth in Paragraphs 1 through 90 above.

        92.    The Haring Foundation is the exclusive owner of valid and subsisting trademark

rights in the United States to the Haring Trademarks, including incontestable Trademark

Registration Nos. 2,513,808, 3,532,980, 2,413,778 and 2,413,749 for, inter alia, clothing goods,

and such registrations provide constructive notice of Plaintiffs’ ownership thereof pursuant to 15

U.S.C. § 1072. See Exhibit 1.

        93.    Defendant is using and/or has used in commerce the Haring Trademarks on or in

connection with clothing goods, including the Unauthorized Products, without Plaintiffs’

consent.

        94.    Defendant has manufactured, marketed, sold, and distributed inferior

Unauthorized Products reproducing the Haring Trademarks that are expressly outside the scope

of the License, in material breach thereof.

        95.    Defendant’s use of the Haring Trademarks on or in connection with clothing

goods, including the Unauthorized Products, has caused and/or is likely to cause consumer

confusion, mistake or deception, such that consumers are likely to believe that the Defendant’s

goods originate from Plaintiffs or are otherwise authorized, sponsored, approved, or endorsed by

Plaintiffs.

        96.    Defendant’s use of the Haring Trademarks has caused and, unless enjoined by this

Court, will continue to cause irreparable injury to Plaintiffs’ goodwill and reputation as

symbolized by the Haring Trademarks and confusion and deception amongst consumers.



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       97.       Defendant’s use of the Haring Trademarks constitutes infringement and

counterfeiting of the registered Haring Trademarks in violation of Haring Foundation’s rights

under Section 32 of the Lanham Act, 15 U.S.C. § 1114, for which Plaintiffs have no adequate

remedy at law.

       98.       Defendant has had, at all relevant times, actual and direct knowledge of Plaintiffs’

prior use and exclusive ownership of the Haring Trademarks.

       99.       Defendant’s conduct is willful and reflects Defendant’s intent to wrongfully

exploit the goodwill and strong brand recognition and reputation associated with the Haring

Trademarks.

       100.      Defendant’s actions have caused, and will continue to cause, substantial injury to

Plaintiffs and to the public, and Plaintiffs are entitled to injunctive relief enjoining Defendant’s

use of the Haring Trademarks, including without limitation any manufacture, distribution, and

sale of the Unauthorized Products, as well as to recover Defendant’s profits, Plaintiffs’ actual

damages, treble damages, statutory damages, costs, and reasonable attorneys’ fees, in an amount

to be determined at trial, under 15 U.S.C. §§ 1114, 1116, and 1117.

       101.      Defendant’s infringing actions have been willful, deliberate and intended to

benefit Defendant at Plaintiffs’ expense.

       102.      Accordingly, Plaintiffs are alternatively entitled to recover the maximum amount

of statutory damages available under the 15 U.S.C. § 1117(c), namely $2,000,000 per type of

goods sold, offered for sale, or distributed.




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                                             COUNT II

                 Federal Unfair Competition and False Designation of Origin
                                   15 U.S.C. § 1125(a)

        103.    Plaintiffs hereby incorporate by reference and reallege each and every allegation

set forth in Paragraphs 1 through 102 above.

        104.    Defendant’s unauthorized use in commerce of the Haring Trademarks and other

words, terms, names, and symbols, including the Haring Images, misleads the relevant

consuming public to believe that Plaintiffs have endorsed, sponsored, authorized and/or is

affiliated with Defendant and its goods, thereby creating a likelihood of confusion as to the

source, sponsorship or approval of Defendant’s business, goods, and services.

        105.    Defendant has had, at all relevant times, actual and direct knowledge of Plaintiffs’

prior use and exclusive ownership of the Haring Trademarks and other words, terms, names, and

symbols, including the Haring Images, used by Defendant on and in connection with the

Unauthorized Products.

        106.    Defendant’s actions have been willful, deliberate and intended to benefit

Defendant at Plaintiffs’ expense.

        107.    Defendant’s activities constitute unfair competition and false designation of origin

in violation of Section 43(a) of the Lanham Action, 15 U.S.C. § 1125(a).

        108.    Defendant’s activities have caused and, unless enjoined by this Court, will

continue to cause a likelihood of confusion and deception of consumers, in addition to injury to

Plaintiffs’ goodwill and reputation as symbolized by the Haring Trademarks and Haring Images,

for which Plaintiffs have no adequate remedy at law.

        109.    Defendant’s actions have caused, and will continue to cause, substantial injury to

the public and to Plaintiffs, and Plaintiffs are entitled to injunctive relief and also to recover



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Defendant’s profits, Plaintiffs’ actual damages, enhanced damages, costs, and reasonable

attorneys’ fees, in an amount to be determined at trial, under 15 U.S.C. §§ 1125(a), 1116, and

1117.

                                            COUNT III

                                     Copyright Infringement
                                     17 U.S.C. §§ 101 et seq.

        110.   Plaintiffs hereby incorporate by reference and reallege each and every allegation

set forth in Paragraphs 1 through 109 above.

        111.   The Haring Foundation is the owner of all right, title, and interest in and to the

registered Haring Copyrights, including the exclusive rights to reproduce, distribute, display or

prepare derivative works of the Haring Copyrights, pursuant to 17 U.S.C. § 106 of the Copyright

Act. See Exhibit 2.

        112.   Defendant had access to the Haring Copyrights and reproduced, distributed and

displayed same without authorization.

        113.   Defendant’s unauthorized use of the Haring Copyrights on or in connection with

the Unauthorized Products without permission, in violation of the License, constitutes willful

copyright infringement of Plaintiffs’ exclusive rights in the Haring Copyrights.

        114.   Defendant’s unauthorized and unlicensed copying of the registered and protected

Haring Copyrights causes irreparable harm, damage, and injury to Plaintiffs, for which Plaintiffs

have no adequate remedy at law.

        115.   Defendant’s actions have caused, and will continue to cause, substantial injury to

the public and to Plaintiffs, and Plaintiffs are entitled to injunctive relief restraining Defendant

from further infringing the Haring Copyrights and to recover their actual damages, disgorge




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Defendant’s profits, costs, and reasonable attorneys’ fees, in an amount to be determined at trial,

under 15 U.S.C. §§ 504 and 505.

       116.    At all relevant times, Defendant has had actual and direct knowledge of the

Haring Foundation’s ownership of the Haring Copyrights and knew that Defendant was not

authorized to use same except as set forth in the License.

       117.    Defendant’s infringing actions have been willful, deliberate and intended to

benefit Defendant at Plaintiffs’ expense.

       118.    Accordingly, Plaintiffs are alternatively entitled to recover the maximum amount

of statutory damages available under the Copyright Act, namely $150,000 per use of each work,

without a showing of actual damages pursuant to 17 U.S.C. § 504(c).

                                            COUNT IV

                                       Breach of Contract

       119.    Plaintiffs hereby incorporate by reference and reallege each and every allegation

set forth in Paragraphs 1 through 118 above.

       120.    Per Paragraph 1, 1(a) and Exhibit A of the License, the License was expressly

limited to four specific categories of products: lounge pants, underwear, socks, and robes.

       121.    Per Paragraph 1 and 1(e), products under the license were limited to certain

specific Authorized Brands: Keith Haring, Gin&Tonic, and Bottoms Out.

       122.    Per Paragraph 5 of the License, the License set forth a strict Approval Process and

standards for all products, labels and packaging, and marketing materials under the License. It

was “of the essence” of the License that Defendant “shall not sell any Product unless and until

[Haring Studio] had approved the Stage Sample for the final form in which the Product will be

marketed and sold to the Public” and the “License [did] not take effect with respect to the sale of




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any Product unless and until such approval has been granted” via the Approval Process set forth

in Paragraph 5 the License.

       123.       Per Paragraph 12 of the License, all products under the License were required to

bear a copyright notice.

       124.       Per Paragraph 17 and Exhibit A of the License, Defendant was required to

provide 10 units of each Product manufactured under the License “in the final form that will be

marketed and sold to the public.”

       125.       Defendant’s manufacture, marketing, sale, and distribution of Unauthorized

Products in violation of the aforementioned Paragraphs of the License constitutes material breach

of the License.

       126.       Defendant was expressly advised in writing of its material breach of the License

on November 8, 2019, and December 3, 2019, and failed to cure its breach. The License was

accordingly terminated following more than 10 business days’ notice of said material breach

pursuant to Paragraph 18(b) of the License.

       127.       Haring Studio has fully performed all of its obligations under the License.

       128.       By reason of the foregoing, Plaintiff Haring Studio has been damaged in an

amount to be determined at trial, but in no event less than one million dollars ($1,000,000).

                                              COUNT V

    Trademark Infringement, Dilution, and Unfair Competition under New York Law

       129.       Plaintiffs hereby incorporate by reference and reallege each and every allegation

set forth in Paragraphs 1 through 128 above.

       130.       Plaintiffs exclusively owns valid and subsisting common law rights and goodwill

throughout the United States, and in particular in New York, to the Haring Trademarks for, inter

alia, clothing goods.


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        131.    Defendant is using and/or has used the Haring Trademarks in New York on or in

connection with the Unauthorized Products.

        132.    Defendant’s unauthorized use of the Haring Trademarks in New York on or in

connection with the Unauthorized Products has caused and/or is likely to cause consumer

confusion, mistake or deception, such that consumers are likely to believe that the Defendant’s

goods/services originate from Plaintiffs or are otherwise sponsored, approved or endorsed by

Plaintiffs.

        133.    Defendant’s unauthorized use of the Haring Trademarks dilutes and is likely to

dilute the distinctive quality of the Haring Trademarks by eroding the public’s exclusive

identification of the Haring Trademarks with Plaintiffs, and lessens and is likely to lessen the

capacity of the Haring Trademarks to exclusively identify and distinguish Plaintiff’s goods and

services.

        134.    Defendant’s unauthorized, nonconforming, and unlawful use of the Haring

Trademarks in connection with goods of an inferior quality is likely to tarnish and blur the

positive reputation and distinctiveness of the Haring Trademarks as associated with Plaintiffs in

the minds of consumers.

        135.    Defendant’s actions have caused, and will continue to cause, substantial injury to

Plaintiffs’ goodwill and reputation and dilution of the distinctiveness and value of the distinctive

Haring Trademarks.

        136.    Defendant’s actions constitute trademark infringement, dilution, and unfair

competition in violation of the laws of the state of New York, including without limitation, New

York General Business Law §§ 360-l and 360-o.




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       137.     Defendant possessed, at all relevant times, actual and direct knowledge of

Plaintiffs’ prior use and ownership of the Haring Trademarks.

       138.     Defendant’s unauthorized and infringing use of the Haring Trademarks has been

willful, deliberate, and made in bad faith, intended to benefit Defendant at the Plaintiffs’

expense.

       139.     Defendant’s actions have been willful, deliberate, and made in bad faith, despite

Plaintiffs’ express written demands that Defendant cease its infringing use, intended to benefit

Defendant at the Plaintiffs’ expense.

       140.     Plaintiffs have no adequate remedy at law and are entitled to injunctive relief and

to recover actual damages in an amount to be determined at trial.

                                             PRAYER

       WHEREFORE, Plaintiffs respectfully requests the following relief:

       a.       That this Court enter judgment in favor of Plaintiffs on the Complaint;

       b.       That Defendant, its directors, officers, agents, servants, employees, attorneys, and

all persons in active concert or participation with one or more of them, be preliminarily and

permanently enjoined and restrained from:

               i.      using the Haring Intellectual Property and Haring Images or any colorable

                       imitation or confusingly similar variation thereof, in connection with

                       clothing goods, including without limitation the Unauthorized Products;

              ii.      falsely passing off Defendant’s Unauthorized Products as originating

                       from, being associated with, or authorized by Plaintiffs; and




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              iii.      otherwise engaging in acts of trademark infringement, copyright

                        infringement, unfair competition, false designation of origin, and

                        trademark dilution;

       c.        That Defendant destroy all Unauthorized Products and provide a certificate of

destruction, or else deliver all Unauthorized Products to Plaintiffs for destruction at Defendant’s

sole expense;

       d.        That Defendant account for all sales and distribution (in units and dollars) of

products bearing Haring Intellectual Property and Haring Images and identify the purchasers and

recipients thereof at Defendant’s sole expense;

       e.        That Plaintiffs be awarded actual damages and disgorgement of profits in an

amount to be proven at trial;

       f.        That Plaintiffs be awarded enhanced damages up to three times the amount of

actual damages pursuant to 15 U.S.C. § 1117(a);

       g.        That Plaintiffs be awarded treble damages for use of counterfeit marks pursuant to

15 U.S.C. § 1117(b);

       h.        That Plaintiffs be awarded the maximum statutory damages allowed for willful

use of counterfeit marks pursuant to 15 U.S.C. § 1117(c);

       i.        That Plaintiffs be awarded the maximum statutory damages allowed for willful

copyright infringement pursuant to 17 U.S.C. § 504(c);

       j.        That Plaintiffs be awarded their costs and reasonable attorneys’ fees incurred in

this action, including pursuant to 15 U.S.C. § 1117(a) and (b) and 17 U.S.C. § 505; and

       k.        Any other and further relief as the Court may deem just and proper.




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                                 DEMAND FOR JURY TRIAL

        Pursuant to the Federal Rules of Civil Procedure, Plaintiffs respectfully requests trial by

jury.

                                              Respectfully submitted,

                                              LADAS&PARRYLLP


                                                                                              ~
Date: March 5, 2020                           By:         ~~~'~
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                                                      Keith Haring Studio, LLC




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